         Case 5:18-cv-02824-EGS Document 42 Filed 11/30/18 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EDWARD KOMITO,                               :       CIVIL ACTION

                      Plaintiff,             :

              v.                             :       NO. 18-2824

LEXISNEXIS, et al.,                          :

                      Defendants.            :


                                           NOTICE

       A telephone conference regarding the status of settlement will be held on Friday,

December 7, 2018 at 10:00 a.m. Counsel for Defendants is directed to initiate the call. Judge

Heffley can be reached at 267-299-7420.




                                                 /s/ Sharon A. Hall-Moore
                                                 Sharon A. Hall-Moore
                                                 Courtroom Deputy
                                                 Magistrate Judge Marilyn Heffley


Date: November 30, 2018
